UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                    7/2/21


  United States of America,

                –v–
                                                                  20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       Defense counsel, including David Markus, are ORDERED to respond to the

Government’s July 1, 2021 letter motion, Dkt. No. 309, by July 9, 2021.


       SO ORDERED.

 Dated: July 2, 2021
        New York, New York                      ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
